                                           Case 24-13747                   Doc          Filed 07/10/24        Page 1 of 5
   Fill in this information to identify the case:

Debtor 1                 Bryan R. Hebron
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        District of Maryland
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             24­13747
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             6
                                                                                                   Court claim no. (if known): _______________________
 Navy Federal Credit Union




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           08/01/2024
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             305.42
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      6 ____
                                                                    ____ 2 ____
                                                                            9 ____
                                                                                0

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

            
            ✔ No
             Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                Current escrow payment: $ _________________                                                 New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
               No
              ✔ Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
              
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:
               ELOC/Consumer Variable



                                                   302.91
                      Current mortgage payment: $ _________________                                                        305.42
                                                                                                   New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
                     Bryan R. Hebron
      Debtor 1                         Case       24-13747Last Name
                                                                 Doc   Filed 07/10/24CasePage
                     ________________________________________________________
                     First Name         Middle Name
                                                                                          number (if2known) 524­13747
                                                                                                       of ______________________

 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
    ✔
     I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Pamela Trainor
      ______________________________________________________________
      Signature
                                                                                        07/09/2024
                                                                                  Date _______________




 Print:______________________________________________________________
        Pamela Trainor                                                             Preparer
                                                                                  ____________________________________________________________
        First Name                Middle Name             Last Name               Title


 Company Navy Federal Credit Union
         ____________________________________________________________

 Address    820 Follin Lane
            _____________________________________________________________
            Number                     Street

            _____________________________________________________________
            Address 2

             Vienna                                  VA      22180
            _____________________________________________________________
              City                                           State     ZIP Code



                     703-255-7463                                                  Mortgage_Bankruptcy@Navyfederal.org
 Contact phone _________________________                                          ____________________________________________________________
                                                                                  Email




Official Form 410S1                                         Notice of Mortgage Payment Change                                          page 2
                         Case 24-13747 Doc Filed 07/10/24 Page 3 of 5
                     UNITED    STATES BANKRUPTCY COURT
                                                        District of Maryland

                                                 Chapter    13 No. 24-13747

                                                  Judge: Judge Nancy V. Alquist
In re:
Bryan R. Hebron

                                        Debtor(s).

                                        CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before July 11, 2024 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Mail Postage Prepaid.


Debtor:                           By U.S. Postal Service First Class Mail Postage Prepaid.
                                  Bryan R. Hebron
                                  8147 Hollow Ct.

                                  Severn MD 21144


                                  By U.S. Postal Service First Class Mail Postage Prepaid.
                                  N/A




Debtor’s Attorney:                By U.S. Postal Service First Class Mail Postage Prepaid.
                                  Eric S. Steiner
                                  Steiner Law Group, LLC
                                  PO Box 17598
                                  Pmb 83805
                                  Baltimore MD 21297


                                  By U.S. Postal Service First Class Mail Postage Prepaid.
                                  N/A




Trustee:                          By U.S. Postal Service First Class Mail Postage Prepaid.
                                  Brian A. Tucci
                                  Brian A. Tucci, Chapter 13 Trustee
                                  P.O. Box 1110

                                  Millersville MD 21108

U.S Trustee:                      By U.S. Postal Service First Class Mail Postage Prepaid.
                                  Gerard R. Vetter
                                  U.S. Trustee
                                  101 West Lombard St, Suite 2625

                                  Baltimore MD 21201


                                                                 _______________________________________________
                                                                 /s/Pamela Trainor
                                                                 Preparer
                                                                 Navy Federal Credit Union
Case 24-13747   Doc   Filed 07/10/24   Page 4 of 5
          Perf Page
                                                   Case 24-13747                      Doc               Filed 07/10/24                Page 5 of 5
 CONTACT INFORMATION
 Member Service Representatives are available at 1-888-842-6328 during the following hours:               If the account is in bankruptcy, and your original obligation was discharged or is subject to an
 Monday – Saturday: 7:00 am – Midnight, Sunday: Noon – Midnight, Eastern Time.                            automatic stay, this statement is for compliance and/or informational purposes only and is not
 For Overseas members, call collect at 703-255-8837.                                                      an attempt to collect a debt or impose personal liability for such obligation. Please contact your
                                                                                                          attorney with any questions.
 Default Counselors are available at 1-800-258-5948 during the following hours:
 Monday – Friday: 8:00 am – 4:30 pm, Eastern Time.                                                         TAX INFORMATION
 For more information, visit navyfederal.org (NFO).
                                                                                                          Property Tax Reminder. Supplemental bills are the responsibility of the property owner, as
 * Under Regulation X of the Real Estate Settlement Procedures Act (RESPA), borrowers have
                                                                                                          we do not escrow to pay supplemental tax bills. If you receive an original or delinquent tax
 the right to resolve errors or request information about mortgage accounts in writing. Error notices
                                                                                                          bill, please forward it to our tax department at the address listed under Contact Information.
 or information requests written on the loan payment coupon or other payment medium provided
                                                                                                          Delays in forwarding tax bills may result in tax penalties for which the account will be charged.
 to you by us will not be accepted. Your written notice of error or information request must include
                                                                                                          Duplicate tax bills are generally sent by taxing authorities to the property owner. Please retain
 your name, account number, and your explanation of the error or reason for the request. Any
                                                                                                          them for your records. If the loan does not have an escrow account, you are required to provide
 written notice or request you wish to submit must be sent to the correspondence address below.
                                                                                                          evidence that your taxes have been paid by forwarding a copy of your paid tax bill receipt(s) to
 Payment Address:                                        * Correspondence Address:                        our Tax Department.
 Navy Federal Credit Union                               Navy Federal Credit Union                        Homestead Exemption. If your state allows for a homestead exemption, only the applicable
 PO Box 3300                                             Mortgage Servicing Error Resolution              party may file for it.
 Merrifield, VA 22119-3300                               and Information Request
 Property Tax Address:                                   PO Box 3302                                      GENERAL INFORMATION
 Navy Federal Credit Union                               Merrifield, VA 22119-3302
                                                                                                          Statement Balance. Transactions received after the statement date will be reflected on the
 PO Box 3304                                             Insurance Address:                               following month’s statement.
 Merrifield, VA 22119-3304                               Navy Federal Credit Union
                                                                                                          Overpayment. Any overpayment will be applied according to the loan documents.
 Payo / Overnight Address:                               PO Box 100598
                                                         Florence, SC 29502-0598                          Expenses Paid. This is a recoverable disbursement for servicing-related expenses (not escrow
 820 Follin Lane                                                                                          expenses) paid with servicer funds rather than escrow funds, to be recovered. This may include
 Vienna, VA 22180                                                                                         foreclosure expenses, attorney fees, and bankruptcy fees.
 Attention: Mortgage Servicing Division, Payo Section
                                                                                                          Suspense Balance. If the account is subject to pending bankruptcy proceedings, the suspense
                                                                                                          balance reflected could include trustee distributions. For more details, please contact Mortgage
 PAYMENT INFORMATION                                                                                      Default to speak with a Mortgage Bankruptcy Counselor at 1-800-258-5948.
 All payments to Navy Federal must be in US dollars.                                                      Suspense Funds. These are any funds received on an account, with the exception of a Home
 Phone Payments. Please call 1-888-842-6328 to make a phone payment.                                      Equity Line of Credit, that did not equal a full payment.
 Online Payments. Please visit navyfederal.org to make an online payment.                                 Important Notice: If the mortgage loan should go into default, Navy Federal Credit Union may
 Mail Payments. Make check payable to Navy Federal Credit Union. Do not include any                       inspect the property to determine if it is being maintained and occupied in accordance with the
 correspondence or remittances for other Navy Federal Credit Union accounts with the mortgage/            terms of the Mortgage/Deed of Trust. Any fees for such an inspection will be charged to the
 equity payment. Please write the loan number on your check and mail in the enclosed envelope.            account. In addition, we may report information about the account to credit bureaus.
 Drafting. If your automatic payment date falls on a weekend or a holiday, please note that the           For additional details, please refer to the Frequently Asked Questions under Mortgage and
 payment will be processed on the following business day.                                                 Equity Information (via Navy Federal online banking). To view current mortgage servicing fee
 Transfer a Payment to Your Mortgage or Equity Loan. This automated service is                            schedules, please visit navyfederal.org.
 available 24 hours a day online. Member Service Representatives are available to assist you
 Monday – Saturday: 7:00 am – Midnight, Sunday: Noon – Midnight, Eastern Time.                            HOME EQUITY LINE OF CREDIT (HELOC)
 Additional Principal Payments. Depending upon the terms of the loan agreement, you may                   Finance Charge: A finance charge will be imposed and shown on each monthly statement, even
 be able to pay additional principal on the loan. We must receive additional principal payments           if you pay the new balance in full on or before the payment due date. The finance charge on the
 on or before the payment due date. Include additional principal with the regular payment and             account is determined by applying the daily periodic rate to the “average daily balance” on the
 indicate the amount in the space provided on the coupon.                                                 account (including current transactions) and then multiplying that amount by the days in the billing
 Loan Payo Information. The principal balance on the statement is not the loan payo amount.               cycle. To get the “average daily balance,” we take the beginning balance of the account each day,
 Interest and other charges may be due. You may obtain a payo quote through Navy Federal                  add any new advances made, and subtract any payments or credits and any unpaid finance charges.
 online banking or by calling 1-888-842-6328.                                                             This equals the daily balance. Then, we add up all of the daily balances for the billing cycle and
 Credit Reporting. We may report information about the account to credit bureaus. If you are              divide the total by the number of days in the billing cycle. This equals the “average daily balance.”
 obligated on the loan, late payments, missed payments, or other defaults on the account may              Payo and Paydown Description. A payo request is a request to pay the HELOC in full and
 be reflected in your credit report.                                                                      close the loan. No further transactions can be made on the loan once it is paid in full. A paydown
 Late Fees. Submit payments in a timely manner to avoid late fees, which may be incurred for              request is a request to pay the HELOC to a zero balance, but have the loan remain open for further
 late payments. See the front of the statement for information regarding the due date.                    use. If a loan is paid down, you may continue to draw funds from the loan until the draw period
                                                                                                          ends or the loan is paid in full and closed.
 INSURANCE INFORMATION                                                                                    Prepayment Options. There is no prepayment option on a HELOC for monthly payments. You
                                                                                                          must wait for the monthly bill to generate before it can be paid. If all outstanding bills are paid on
 Hazard Insurance Reminder. It is your responsibility to maintain proper and su cient hazard              a HELOC, any funds received will be posted towards additional amounts due or principal. Once a
 insurance coverage. Hazard insurance includes Fire and Extended Coverage, and where                      HELOC bill is generated, any funds received will be posted towards the oldest outstanding bill first.
 required, Flood and Wind Insurance. To protect our mutual interests, Navy Federal must be
                                                                                                          Hold On Available Credit After Payment. When you make a payment to the HELOC, Navy Federal
 listed in the mortgagee clause. Should you receive an original insurance bill, please forward it
                                                                                                          will adjust the available credit six business days after we receive your payment.
 to us immediately to avoid a lapse in coverage. Whether you have a renewal or replacement
 policy, please have your agent send a copy of it to the insurance address above at least 30 days         For more information, call 1-888-842-6328 or visit navyfederal.org.
 before your existing policy expires.                                                                     Billing Rights Summary. (HOME EQUITY LINE OF CREDIT)
 If we do not receive proof of adequate continuous coverage, we will purchase hazard insurance            In Case of Error or Questions About the Bill. If you think the bill is wrong, or if you need more
 to protect the property at your expense. The cost of the insurance we purchase on your behalf            information about a transaction on the bill, write us on a separate sheet at the correspondence
 may be higher than the amount you would normally pay. In addition, this insurance policy may             address above for inquiries as soon as possible. We must hear from you no later than 60 days
 not provide coverage for the full replacement cost of the home and will not cover your contents.         after we sent the first bill on which the error or problem appeared.
 If the loan is a mortgage or fixed equity loan, the purchase price of this insurance will be charged     You can telephone us, but doing so will not preserve your rights.
 to the escrow account. If the loan does not have an escrow account, one will be established, and         In your letter, give us the following information:
 the mortgage payment will be increased accordingly. If the loan is a Home Equity Line of Credit,         • Your name and account number.
 we will send you a bill for the insurance coverage obtained. You will be mailed several notices          • The dollar amount of the suspected error.
 before a policy is obtained and the account is charged. Please remember that a copy of the policy        • Describe the error and explain, if you can, why you believe there is an error. If you need more
 or policies still needs to be provided to us annually (for non-escrowed loans). If the property is a     information, describe the item you are unsure about.
 condominium, you will need to request the declaration page of the Master Condominium Policy              You do not have to pay any amount in question while we are investigating, but there is still an
 from your condominium association and send proof of any additional policies you may carry. If            obligation to pay the parts of the bill that are not in question. While we investigate your question,
 the loan does not have an escrow account, you are required to provide proof that the insurance           we cannot report the account as delinquent or take any action to collect the amount in question.
 has been paid by forwarding a copy of your hazard, flood, and/or wind insurance receipt(s).
                                                                                                          Special Rule for Credit Card Purchases. If you have a home equity credit card and you have a
 Damaged Property. In the event of damage to the home or property, immediately notify your                problem with the quality of goods or services that you purchased with a credit card, and you have
 insurance agent and Navy Federal so we may guide you on how the insurance draft must                     tried in good faith to correct the problem with the merchant, you may not have to pay the remaining
 be processed.                                                                                            amount due on the goods or services. You have this protection only when the purchase price was
 Mortgage Insurance. Private Mortgage Insurance (PMI), if applicable, may be eligible for                 more than $50 and the purchase was made in your home state or within 100 miles of your mailing
 cancellation. Please contact Navy Federal at 1-888-842-6328 for applicable requirements.                 address. (If we own or operate the merchant, or if we mailed you the advertisement for the property
 Bankruptcy and Collection Notice. In the event the loan is in default, Navy Federal Credit               or services, all purchases are covered regardless of amount or location of purchase.)
 Union may attempt to collect the debt, and any information obtained will be used for that purpose.




                                                                                CHANGE OF ADDRESS
                                                         PLEASE PRINT. USE BLUE OR BLACK BALL POINT PEN.
RANK/RATE       NAME (FIRST                                   MI                                          LAST)                                          ACCOUNT NUMBERS AFFECTED



ADDRESS (NO. STREET)




CITY                                                          STATE                                       ZIP CODE



SIGNATURE OF NFCU MEMBER OR SUCCESSOR IN INTEREST



EFFECTIVE DATE (MO., DAY, YR.)                                              HOME TELEPHONE NUMBER                                                        DAYTIME TELEPHONE NUMBER

                                                                            (          )                                                                 (          )
